                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF ALASKA

 WILLIAM TATE, Individually, and SUSIE            )
 SOURS as Co-Guardians of CYNTHIA TATE,           )
 and M.T., G.T., M.T., T.T., and M.T., minor      )
 children,                                        )
                                                  )
                      Plaintiffs,                 )   Case No. 3:14-cv-00242-JWS
                                                  )
        v.                                        )
                                                  )
 UNITED STATES OF AMERICA, SHC                    )
 SERVICES, INC., d/b/a SUPPLEMENTAL               )   ORDER
 PHYSICIANS, DOUG AMIS, CHERYL                    )
 CHAPMAN, ADVANTAGE RN, LLC, and                  )
 SHERYL SNYDER,                                   )
                                                  )
                      Defendants.                 )
                                                  )

        This Court, having considered the Motion to Dismiss with Prejudice filed by

defendants SHC Services, Inc., d/b/a Supplemental Physicians and Doug Amis, and

being fully advised of the premises,

        IT IS HEREBY ORDERED that all claims brought, or that could have been

brought, by plaintiffs against SHC Services, Inc., d/b/a Supplemental Physicians and

Doug Amis are hereby dismissed with prejudice each side to bear their own costs and

fees.

        DATED this 26th day of April 2016.

                               /s/ JOHN W. SEDWICK
                     SENIOR UNITED STATES DISTRICT JUDGE


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